              Case 3:19-cr-00381-CRB Document 316 Filed 12/09/20 Page 1 of 5




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11                                   UNITED STATES DISTRICT COURT

12                                NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN FRANCISCO DIVISION
14
     UNITED STATES OF AMERICA,                       )   NO. 19-0381-11 CRB
15                                                   )
             Plaintiff,                              )   UNITED STATES’ SENTENCING
16                                                       MEMORANDUM
                                                     )
        v.
17                                                   )
                                                         Judge: Hon. Charles R. Breyer
     ALEX GOMES BARRIENTOS,                          )
18                                                       Sentencing Date: December 16, 2020
          a/k/a “Axel Gamez                          )
                                                         Time: 1:30 p.m.
                                                     )
19           Defendant.                              )
20                                                   )
                                                     )
21                                                   )

22

23 I.        INTRODUCTION
24           Alex Gomes Barrientos worked as one of over a dozen street-level drug dealers for a drug
25 trafficking organization (DTO) run by Andy Reanos-Moreno. As part of his role in the organization,

26 Barrientos ordered distribution quantities of drugs that Reanos-Moreno then delivered. Following one

27 of those deliveries, agents stopped Barrientos and seized powder cocaine and cocaine base (crack).

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     UNITED STATES’ SENTENCING MEMO.
     NO. 19-0381-11 CRB
              Case 3:19-cr-00381-CRB Document 316 Filed 12/09/20 Page 2 of 5




 1          Unlike his co-defendants, Barrientos is no a stranger to this Court. He pled guilty to illegal re-

 2 entry in 2011 under the name Juan Carlos Villatoro Hernandez. The Honorable Jeffrey S. White

 3 sentenced Barrientos to 18 months in custody. See No Cr 11-627 JSW.

 4          In addition, Barrientos has been convicted of felony drug trafficking in Utah and Colorado, and

 5 has provided half a dozen different aliases when arrested. His arrests date from 2007 through 2019 in

 6 three different states.

 7          Though the drugs seized from Barrientos in this case reflect a small quantity, his involvement in

 8 an organized drug trafficking network and his repeated criminal conduct despite serving a prior federal

 9 sentence demonstrate that a Guidelines sentence is warranted. In order to deter further criminal conduct

10 and to protect the community, the government recommends a low-end Guidelines sentence of 24

11 months, followed by three years of supervised release and a mandatory $100 special assessment.

12 II.      PROCEDURAL POSTURE

13          On August 15, 2019, a federal grand jury returned an Indictment charging Barrientos with one

14 count of conspiring to traffic drugs, in violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B). In advance of

15 the December 16, 2020, change of plea hearing, the government will file a Superseding Information

16 alleging Barrientos’s participation in a drug trafficking conspiracy, but without a drug weight allegation.

17 Pursuant to a plea agreement, the parties anticipate that the defendant will enter a guilty plea to the

18 Superseding Information. The government understands that Barrientos will seek simultaneous

19 sentencing. Under Federal Rule of Criminal Procedure 32(c)(1)(A)(ii), (ii), a court may waive the

20 preparation of a presentence report and proceed to sentencing if it “finds that the information in the

21 record enables it to meaningfully exercise its sentencing authority under 18 U.S.C. §3553” and that

22 finding is set forth on the record.

23 III.     SENTENCING GUIDELINES CALCULATIONS

24          As set forth in the parties’ written plea agreement, the parties agree to the following Sentencing

25 Guidelines calculation:

26          a.      Base Offense Level, U.S.S.G. §§ 2D1.1(a)(5), (c)(4):                                     18
                    (At least 40 KG but less than 60 KG of Converted Drug Weight)
27
            b.      Acceptance of Responsibility:                                                            -3
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     UNITED STATES’ SENTENCING MEMO.
     NO. 19-0381-11 CRB
               Case 3:19-cr-00381-CRB Document 316 Filed 12/09/20 Page 3 of 5




 1
             c.      Adjusted Offense Level:                                                                 15
 2
             The base offense level reflects drug seized from Barrientos on January 24, 2019. Based on the
 3
     government’s calculations, Barrientos is a Criminal History Category III. The Guidelines range for
 4
     imprisonment associated with adjusted offense level 15 and Criminal History Category III is 24-30
 5
     months.
 6
     IV.     GOVERNMENT’S SENTENCING RECOMMENDATION
 7
             The Court should impose a sentence sufficient, but not greater than necessary, to reflect the
 8
     purposes of sentencing that Congress identified in 18 U.S.C. § 3553(a)(2). United States v. Carty, 520
 9
     F.3d 984, 991 (9th Cir. 2008). The Court should begin by calculating the correct sentencing range under
10
     the Sentencing Guidelines. Id. The Guidelines are “the ‘starting point and the initial benchmark,’”
11
     United States v. Ellis, 641 F.3d 411, 415 (9th Cir. 2011) (quoting United States v. Kimbrough, 552 U.S.
12
     85, 108 (2007)), and the Court should “remain cognizant of them throughout the sentencing process.”
13
     United States v. Gall, 552 U.S. 38, 50 n.6 (2007). After determining the appropriate Guidelines
14
     calculations, the Court should then evaluate the sentence for substantive reasonableness in light of the
15
     factors set out in Section 3553(a). Carty, 520 F.3d at 991-93. Here, the most important considerations
16
     are the nature and circumstances of the offense, the need to afford adequate deterrence, and the
17
     protection of the public. 18 U.S.C. § 3553(a)(1), (a)(2)(B)-(C).
18
             As the Court knows based on prior sentencings, the charges here stem from a federal wiretap
19
     investigation described in detail in the Criminal Complaint filed on August 31, 2019. (See Dkt. 1,
20
     Compl. (originally filed under 3:19-71162 TSH).) As described in the Complaint, the investigation
21
     uncovered an organized drug network where Reanos-Moreno housed street-level dealers in houses and
22
     apartments in the East Bay. (See Dkt. 1, Compl. ¶¶ 17-26.) On a near daily basis, the street-level
23
     dealers placed orders for drugs with Reanos-Moreno who initially dropped them off himself, and later
24
     sent a runner to make the drop-off. (Id.) The street-level dealers then traveled to the Tenderloin to
25
     resell the drugs. (Id.)
26
             In January 2019, agents intercepted Barrientos proposing becoming business partners with
27

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     UNITED STATES’ SENTENCING MEMO.
     NO. 19-0381-11 CRB
             Case 3:19-cr-00381-CRB Document 316 Filed 12/09/20 Page 4 of 5




 1 Reanos-Moreno. On January 20, 2019, Barrientos called Reanos-Moreno and said that he wanted “to be

 2 associates and do badass business together.” (Declaration of Sailaja M. Paidipaty, Exhibit A, Line

 3 Sheets, Call 298.) Barrientos said he had “crystal” – i.e. methamphetamine - and he gave “it to some

 4 dudes for 2,500.” (Id.) He went on to say that he had a drug connection who got his drug supply from

 5 China (“the guy could get that shit pure from China”) and that he could get “pills and everything.” (Id.)

 6 Barrientos said the drug supplier would show them “how to cut it,” meaning how to mix the drugs with

 7 other substances in order to increase its volume. (Id.) Finally, he bragged that the drugs were “so pure

 8 [they] could kill an elephant […] it was strong.” (Id.)

 9          Four days later, Barrientos ordered drugs from Reanos-Moreno. Before delivering the drugs,

10 Reanos-Moreno called to clarify the order:

11          REANOS-MORENO                Hey, what was it that you wanted?

12          BARRIENTOS                   Hey? I wanted, uh… three of the nose one.

13          REANOS-MORENO                Three of the nose one.

14          BARRIENTOS                   And five of the day one.

15          REANOS-MORENO                Five of day one, but you know the nose one is at the same price.

16          BARRIENTOS                   What do you mean?

17          REANOS-MORENO                The nose one is at one-fifteen.

18          BARRIENTOS                   How come?

19          REANOS-MORENO                Oh no, that one [U/I] I only lowered the day one.

20          BARRIENTOS                   Nah, you’re kidding me. Okay, then. Oh, well.

21          REANOS-MORENO                Okay, I’m here. Come this way; I’m between eighty-two and

22                                       eighty-three.

23          BARRIENTOS                   Okay, then.

24 (Dkt. 1, Compl. ¶ 85.) As he admits in his plea agreement, during this call, Barrientos ordered powder

25 cocaine (which is often ingested through the nose, hence the code word) and crack cocaine (“five of the

26 day”). Agents were following Reanos-Moreno at the time. About seven minutes after the phone call,

27 agents saw Barrientos meet with Reanos-Moreno. Barrientos got into Reanos-Moreno’s car, stayed

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     UNITED STATES’ SENTENCING MEMO.
     NO. 19-0381-11 CRB
              Case 3:19-cr-00381-CRB Document 316 Filed 12/09/20 Page 5 of 5




 1 there for about ten minutes, and then got out, at which point Reanos-Moreno drove away. (Id. ¶ 87.)

 2 Agents approached Barrientos and found in his jacket pocket three plastic baggies containing powder

 3 cocaine and five plastic baggies containing cocaine base. (Id. ¶ 88.) Later, laboratory testing

 4 determined that the plastic baggies contained a net total of 10.3 grams of powder cocaine (approximately

 5 equal to 3 one-eighth-ounce units) and 17.3 grams of cocaine base (crack) (approximately equal to 5

 6 one-eighth-ounce units). (Id.)

 7          Barrientos’s arrest in this case is neither his first time being arrested for drug dealing, nor is it his

 8 first conviction in this district. Since 2004, Barrientos has been arrested on narcotics charges at least

 9 seven times in three different states (California: 2011, twice in 2019; Colorado: twice in 2004, 2008;

10 Utah: 2007). This led to state convictions in Colorado and Utah under two of the six different aliases

11 that he has used over the years. He was deported in March 2008 and April 2010. Following his arrest in

12 San Francisco in 2011, a federal grand jury returned a one-count indictment charging Barrientos with

13 illegal re-entry, in violation of 8 U.S.C. § 1326. See No Cr 11-0627 JSW. Pursuant to a fast track

14 resolution, the defendant entered a guilty plea and was subsequently sentenced to 18 months in custody,

15 after which, in 2017, he was once more deported. Despite a federal conviction, a year and a half in BOP

16 custody, two state felony convictions, and three deportations, Barrientos once more returned to the

17 United States and continued doing the one thing he has done consistently – sell drugs. His sentence to

18 the current charges should be, at the very least, greater than his prior federal sentence. Therefore, a low-

19 end Guidelines sentence of 24 months is required to hold Barrientos accountable, promote deterrence,

20 and protect the community.

21 V.       CONCLUSION

22          The government respectfully recommends that this Court impose a custodial sentence of 24

23 months, followed by three years of supervised release, and a $100 mandatory special assessment.

24 DATED: December 9, 2020                                          Respectfully submitted,

25                                                                  DAVID L. ANDERSON
                                                                    United States Attorney
26
                                                                           /s
27
                                                                    SAILAJA M. PAIDIPATY
28                                                                  Assistant United States Attorney
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     UNITED STATES’ SENTENCING MEMO.
     NO. 19-0381-11 CRB
